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                            UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF NEW YORK


BELLA INGBER, SABRINA MASLAVI,                      Case No. 23-cv-10023-LAP
NEVO YEMINI, AVIGAIL TEILER, and
STUDENTS AGAINST ANTISEMITISM,                      Hon. Loretta A. Preska
INC.,

                      Plaintiffs,

               -against-

NEW YORK UNIVERSITY,

                      Defendant.



                           DECLARATION OF DANIEL L. CANTOR

       I, Daniel L. Cantor, declare as follows:

       1.      I am a partner at O’Melveny & Myers LLP. I represent Defendant New York

University (“NYU”) in the above-captioned action. I am familiar with the facts set forth in this

declaration.

       2.      I submit this declaration in support of NYU’s Motion to Dismiss Plaintiffs’

Complaint.

       3.      Attached as Exhibit A is a true and correct copy of the November 15, 2023

statement of President Linda G. Mills, NYU to Create Center for the Study of Antisemitism,

found at https://www.nyu.edu/about/news-publications/news/2023/november/nyu-to-create--

center-for-the-study-of-antisemitism-.html.

       4.      Attached as Exhibit B is a true and correct copy of the October 25, 2023 message

of President Linda G. Mills and Senior Vice President for University Life, Plans for Student

Safety and Well-being, found at https://www.nyu.edu/about/leadership-university-

administration/office-of-the-president/comms/plans-for-student-safety-and-well-being.html.
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       5.     Attached as Exhibit C is a true and correct copy of the November 30, 2023

message of President Linda G. Mills and Senior Vice President for University Life Jason Pina,

Executive Summary: Updating our Community on the 10 Point Plan for Student Safety and Well-

being, found at https://www.nyu.edu/about/leadership-university-administration/office-of-the-

president/comms/executive-summary-updating-our-community-on-the-10-point-plan.html.

       6.     Attached as Exhibit D is a true and correct copy of the November 1, 2023

message from Jason Pina, Senior Vice President for University Life, On Our Commitment to

Enforcing Our Policies, found at https://www.nyu.edu/life/safety-health-wellness/campus-
respect/our-commitment-to-enforcing-our-policies.html. Attached as Exhibit D-1 is a true and

correct copy of NYU’s Guidance and Expectations on Student Conduct, which was attached to

Exhibit D and found at https://www.nyu.edu/students/student-information-and-resources/student-

community-standards/nyu-guidance-expectations-student-conduct.html.

       7.     Attached as Exhibit E is a true and correct copy of the October 10, 2023 message

of NYU Board Chair Evan Chesler and President Linda G. Mills, Statement on Israel, found at

https://www.nyu.edu/about/leadership-university-administration/office-of-the-

president/comms/statement-on-israel.html.

       8.     Attached as Exhibit F is a true and correct copy of the March 11, 2024 message of

President Linda G. Mills and Senior Vice President for University Life Jason Pina, Further
Updates on Promoting Safety and Wellbeing, found at https://www.nyu.edu/life/safety-health-

wellness/campus-respect/further-updates-on-promoting-safety-and-wellbeing.html.

       9.     Attached as Exhibit G is a true and correct copy of the January 23, 2024 message

of President Linda G. Mills, The Semester Ahead, found at https://www.nyu.edu/about/

leadership-university-administration/office-of-the-president/comms/the-semester-ahead.html.

       10.    Attached as Exhibit H is a true and correct copy of the February 2, 2024 message

of Jason Pina, Senior Vice President for University Life, Reinforcing our Expectations for

Student Conduct, found at https://www.nyu.edu/life/safety-health-wellness/campus-

respect/reinforcing-our-expectations-for-student-conduct.html.
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       11.    Attached as Exhibit I is a true and correct copy of the December 5, 2023 message

of Jason Pina, Senior Vice President for University Life, How We Engage with One Another in a

Charged Moment, found at https://www.nyu.edu/life/safety-health-wellness/campus-

respect/how-we-engage-with-one-another-in-a-charged-moment.html.

       12.    Attached as Exhibit J is a true and correct copy of the January 25, 2024 statement

of NYU Spokesperson John Beckman regarding Amin Husain, found at

https://www.nyu.edu/about/news-publications/news/2024/january/statement-by-nyu-

spokesperson-john-beckman-regarding-amin-husain.html.

       13.    Attached as Exhibit K is a true and correct copy of the NYU Student Conduct

Policy, found at https://www.nyu.edu/about/policies-guidelines-compliance/policies-and-

guidelines/university-student-conduct-policy.html#Conduct. Attached as Exhibit K-1 is a true

and correct copy of the NYU Student Conduct Procedures, found at

https://www.nyu.edu/students/student-information-and-resources/student-community-

standards/studentconductprocedures.html.

       14.    Attached as Exhibit L is a true and correct copy of Students Against

Antisemitism’s (“SAA”) Certified Articles of Incorporation.

       15.    Attached as Exhibit M is a true and correct copy of the October 10, 2023 message

of Troy McKenzie, Dean of the NYU School of Law, Message to the NYU Law Community,
found at https://www.law.nyu.edu/101023-dean-message.

       16.    Attached as Exhibit N is a true and correct copy of the October 11, 2023 message

of Troy McKenzie, Dean of the NYU School of Law, and David Tanner, Chair of the NYU Law

Board of Trustees, Statement from NYU Law, found at https://www.law.nyu.edu/101123-

statement.

       17.    Attached as Exhibit O is a true and correct copy of excerpts of the Restrictive

Declaration of Large-Scale General Development for the NYU LGSD, dated July 24, 2012.

       18.    Attached as Exhibit P is a true and correct copy of the October 25, 2023

Statement of NYU Spokesperson John Beckman on Photos of People in Washington Square Park
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Holding Offensive Signs, found at https://www.nyu.edu/about/news-publications/news/2023/

october/statement-from-nyu-spokesperson-john-beckman-on-photos-of-people.html.

       19.    Attached as Exhibit Q is a true and correct copy of an October 11, 2023 email

from Associate Vice President and Dean of Students Rafael Rodriguez to Sabrina Maslavi.

       I declare under penalty of perjury that the foregoing is true and correct.



       Executed on March 18, 2024 at New York, New York.



       Dated: March 18, 2024                                  __________________

                                                             Daniel L. Cantor
